                Case: 1:23-cv-01470-CEF Doc #: 1-10 Filed: 07/27/23 1 of 4. PageID #: 84


Bilancini, Melissa

From:                             Bilancini, Melissa
Sent:                             Sunday, July 23, 2023 12:38 PM
To:                               Patrick Rahill; Ghannoum, Lisa M.
Cc:                               Sean Lavin; Walsh, Joseph H.
Subject:                          RE: Gray Matter v Handel


Sean and Patrick,

Thank you for your July 21, 2023 email providing Mr. Davian’s explanation regarding graymattergr.com and
gograymatter.com. Despite Mr. Davian’s current assertions that he owns the domain graymattergr.com, this domain
was paid for using Company funds and is Company property. As a terminated employee, Mr. Davian has no right to
maintain possession or control of the domain and must turn over the username, password, and 16-digit IONOS recovery
code immediately.

Additionally, because Company email accounts use the domain graymattergr.com, by commandeering the domain, Mr.
Davian is prohibiting the Company and its employees from accessing their email accounts. Accordingly, Mr. Davian must
immediate take steps to return email access to the Company.

Lastly, Mr. Davian’s new domain, gograymatter.com, infringes on the Company’s marks and must be taken down
immediately. Given Mr. Davian’s intentional re-direction of the Company’s domain to his new website, it is clear that
Mr. Davian intends to portray himself as a Company representative. However, as a terminated employee, Mr. Davian
has no right to take action on behalf of the Company or to portray himself to the Company’s customers and the general
public as a Company representative. Mr. Davian must cease and desist his use of Company marks immediately.

If Mr. Davian refuses to comply with these requests, the Company will be forced to take additional legal action against
Mr. Davian.

Best,
Melissa




Melissa Bilancini

T +1.216.861.7094


From: Patrick Rahill <prahill@flannerygeorgalis.com>
Sent: Friday, July 21, 2023 10:09 AM
To: Bilancini, Melissa <mbilancini@bakerlaw.com>; Ghannoum, Lisa M. <lghannoum@bakerlaw.com>
Cc: Sean Lavin <slavin@flannerygeorgalis.com>
Subject: RE: Gray Matter v Handel


[External Email: Use caution when clicking on links or opening attachments.]

Melissa –


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              Case: 1:23-cv-01470-CEF Doc #: 1-10 Filed: 07/27/23 2 of 4. PageID #: 85
Thank you for your patience. Please find Defendants’ response below.

Anthony registered graymattergr.com upon his release from prison on January 18, 2018. Since its inception,
graymattergr.com has always belonged to Anthony. We are aware of no documents transferring the website to the
Company. And given Plaintiffs’ current position – that Anthony is neither a shareholder representative, director, nor
employee – we struggle to see how the Company can now claim ownership to the website.

Moreover, our analysis shows that graymattergr.com was simply a landing site for the other companies. It merely
provided links to other websites, like Gray Data’s website, graydata.io. Somewhat relatedly, Plaintiffs similarly
demanded Anthony transfer graydata.io to Plaintiffs control, and Anthony transferred such control on or about May 17,
2023. Reviewing graydata.io today reflects that the website is no longer functioning, an action presumably taken by
Plaintiffs.

In terms of history of this lawsuit, I reviewed our records for any discussions of IONOS or graymattergr.com. Neither
were included in Exhibit 5 to the Verified Complaint. Neither were discussed throughout prior accusations and
negotiations. What I do have is a notification from IONOS that Anthony’s password was changed on or about February
20, 2023 (the same day Sean and I filed our Notice of Appearance). He also lost the IONOS recovery code (discussed
more below). As such, Anthony could not access IONOS since that time or deactivate the 2FA. Despite that fact, during
our meeting with Mansour Gavin in March 2023, Anthony transferred Wix control – which substantively controlled
graymettergr.com – to Plaintiffs. Up until now, there have been zero communications about needing additional control
of graymattergr.com. As an aside, Wix users may redirect websites simply from their management screen:




As you are aware, Judge O’Donnell denied Plaintiffs’ request for preliminary injunction on June 6, 2023, likewise lifting
the Temporary Restraining Order. Days later, on June 12 the Court granted Defendants’ Motion to Dismiss. The Court
reaffirmed that dismissal on July 10, 2023. Given that all of Mr. Handel’s derivative claims – those claims on behalf of the
Company – were dismissed, it is Defendants’ position that the Companies are no longer parties to this litigation effective
July 10, 2023.

Mr. Handel now alleges that, on July 17, Anthony somehow interfered with Company property and that behavior
violated the TRO. Given the Court’s orders however, a) the Company is no longer a party to the matter and has no
authority to claim protection; and b) the actions taken on July 17 occurred after the TRO expired. Finally, as IONOS told
Gray Matter employees’, Anthony Davian is the sole owner of graymattergr.com and the Company has no right to that
information. Reiterating my previous point – for Plaintiffs to claim on one hand that Anthony has no shareholder
representative interest, director interest or employee interest, but assert on the other hand that Anthony’s personal
assets belong to the Company – which is no longer a party to the dispute between our clients – is disingenuous.

Recently, Anthony recovered the 16-digit recovery phrase for his IONOS account. Doing so gave him access to his
personally owned domains, including graymattergr.com. As he has been effectually locked out from IONOS since
February 2023, Anthony updated his personal registration information. This reflects the 7/19/2023 “update” you


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               Case: 1:23-cv-01470-CEF Doc #: 1-10 Filed: 07/27/23 3 of 4. PageID #: 86
referred to in your email. In the event this “update” mistakenly redirected traffic to a different personal domain is
inconsequential for the multitude of reasons discussed above.

Finally, regarding the Company’s email system – Anthony has been locked out of the Company’s Google Account, which
hosts the Company’s email, since early February 2023. He has no knowledge of employees’ inability to access their
Google Account emails.

This issue, like many of the issues Mr. Handel has tried to ram through under the guise of the hastily granted TRO, went
to the heart of the dispute: the partners proper use of personal and company assets.

Thanks,

Patrick Rahill
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From: Patrick Rahill <prahill@flannerygeorgalis.com>
Sent: Thursday, July 20, 2023 6:56 PM
To: Bilancini, Melissa <mbilancini@bakerlaw.com>; Sean Lavin <slavin@flannerygeorgalis.com>; Ghannoum, Lisa M.
<lghannoum@bakerlaw.com>
Subject: Re: Gray Matter v Handel

Hi Melissa —

Sorry for the delay. We’ve had a few other fires on different matters also pop up today.

I expect an answer to you either later tonight or first thing tomorrow morning.

Thank you for your patience. I’ll be in touch soon.

Pat

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From: Bilancini, Melissa <mbilancini@bakerlaw.com>
Sent: Thursday, July 20, 2023 12:09:26 PM
                                                             3
                   Case: 1:23-cv-01470-CEF Doc #: 1-10 Filed: 07/27/23 4 of 4. PageID #: 87
To: Sean Lavin <slavin@flannerygeorgalis.com>; Patrick Rahill <prahill@flannerygeorgalis.com>; Ghannoum, Lisa M.
<lghannoum@bakerlaw.com>
Subject: Gray Matter v Handel


Patrick,

Following up on our phone call, we were recently made aware that your client, Anthony Davian, has taken control of
Gray Matter’s company domain, graymattergr.com and caused Gray Matter and its employees to be locked out of the
company’s email.

On 7/19/2023 at 7:27 UTC, the company’s domain, graymattergr.com was updated and began redirecting
to gograymatter.com, a domain owned by Davian that is purportedly a company website for Gray Matter
(See http://gograymatter.com (“As an innovative energy trading advisory company, Gray Matter is committed to
powering the future of the high-performance computing industry, which includes cryptocurrency mining and beyond.”).)

Gray Matter called IONOS, the domain server for graymattergr.com and have the two domains decoupled. However,
IONOS refused to grant Gray Matter employees' access to the domain, stating that the holder of the account was
Anthony Davian.

As you know, under the TRO Davian was ordered to transfer control of graymattergr.com, the company’s domain, to Mr.
Handel and Gray Matter. At that time, Davian denied having access to the two-factor authentication associated with the
account. However, since Davian has been able to alter the password and regain control of the domain, he clearly
maintained this access.

Davian’s tortious interference with the company’s domain and email have stopped business from being able to take
place.

We appreciate your timely attention to this matter, and will look for your response this afternoon.

Best,
Melissa

Sent from my mobile device.



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